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                                  VII. PROOF OF SERVICE

        I, Bryan J. Jones, affirm that I am an attorney of record for a party to the above-captioned

 civil action, and on November 10, 2017, I served a true and accurate copy of this Motion to

 Dismiss upon all attorneys of record who have registered to receive service of process via the

 Court’s Electronic Filing System by submitting said documents to said System.


                                                  /s/ Bryan J. Jones
                                                  Bryan J. Jones (VSB 87675)
                                                  106 W. South St., Ste. 211
                                                  Charlottesville, VA 22902
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                                                  (E): bryan@bjoneslegal.com
                                                  Attorney for Michael Hill, Michael Tubbs,
                                                  and League of the South

 Dated: November 13, 2017-




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